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1    ERIN J. RADEKIN
     Attorney at Law - SBN 214964
2    428 J Street, Suite 350
     Sacramento, California 95814
3    Telephone: (916) 446-3331
     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    DAVID REED

6

7                         IN THE UNITED STATES DISTRICT COURT

8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10   UNITED STATES OF AMERICA,             )     2:13-CR-00144 JAM
                                           )
11                            Plaintiff,   )     STIPULATION AND ORDER
                                           )     TO CONTINUE JUDGMENT AND SENTENCING
12   v.                                    )     AND MODIFY SCHEDULE OF DISCLOSURE
                                           )
13                                         )
     DAVID REED,                           )
14                                         )
                             Defendant.    )
15   __________________________________    )

16
                                         STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jared Dolan, and defendant, David Reed, by
19
     and through his counsel, Erin J. Radekin, agree and stipulate to vacate the
20
     date set for judgment and sentencing, July 7, 2015 at 9:15 a.m. and continue
21
     judgment and sentencing to August 4, 2015 at 9:15 a.m. in the courtroom of
22
     the Honorable John A. Mendez.
23
           In addition, the parties stipulate to the following modification to the
24
     schedule of disclosure relating to pre-sentence report (“PSR”):
25
           Motion for correction of PSR          July 21, 2015
26
           Reply, or non-opposition              July 28, 2015
27

28



                                     Stipulation and Order - 1
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1          This continuance is requested to allow the parties to file any response

2    to the final PSR, which was filed on July 1, 2015, and for counsel to prepare

3    for sentencing.   The Court is advised Mr. Dolan and Ms. Moore have no

4    opposition to the proposed dates set forth above, and Mr. Dolan has

5    authorized Ms. Radekin to sign this stipulation on his behalf.

6          Accordingly, the parties respectfully request the Court adopt this

7    proposed stipulation.

8    IT IS SO STIPULATED

9    Dated: July 1, 2015                            BENJAMIN WAGNER
                                                    United States Attorney
10
                                           By:       /s/ Jared Dolan
11                                                  JARED DOLAN
                                                    Assistant United States Attorney
12

13   Dated: July 1, 2015                             /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
14                                                  Attorney for Defendant
                                                    DAVID REED
15

16                                          ORDER

17         For the reasons set forth in the accompanying stipulation and

18   declaration of counsel, the date set for judgment and sentencing, July 7,

19   2015 at 9:15 a.m. is VACATED and the above-captioned matter is set for

20   judgment and sentencing on August 4, 2015 at 9:15 a.m. in the courtroom of

21   the Honorable John A. Mendez.

22         IT IS FURTHER ORDERED that the schedule of disclosure be modified as

23   follows:

24         Motion for correction of PSR             July 21, 2015

25         Reply, or non-opposition                 July 28, 2015

26   IT IS SO ORDERED.

27   Dated: 7/1/2015                       /s/ John A. Mendez________________
                                           HON. JOHN A. MENDEZ
28                                         United States District Court Judge



                                     Stipulation and Order - 2
